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7
8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
10
                                        ) No. CR 2:08-00427-06-MCE
11   UNITED STATES OF AMERICA,          ) Eastern California
                                        )
12        Plaintiff,                    ) ORDER
                                        ) AUTHORIZING PRODUCTION OF
13        vs.                           ) TRANSCRIPT OF SEALED
                                        )
14   ALEXANDER POPOV,                   ) PROCEEDINGS
                                        )
15        Defendant.                    )
                                        )
16                                      )
                                        )
17
18        GOOD CAUSE APPEARING, court reporter Kathy Swinhart is
19   hereby ordered to prepare a transcript of the sealed portion of
20
     the sentencing hearing occurring on January 12, 2012, and produce
21
     a copy of the transcript to appellate counsel for the defendant,
22
     Karen L. Landau.
23
          DATED:   August 27, 2012
24
25
                                       _______________________________________
26                                     MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE
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